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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


   MARTIN JONATHAN BATALLA VIDAL, et
   al.,

                 Plaintiffs,

          v.                                         No. 16-cv-4756 (NGG) (JO)

   ELAINE C. DUKE, in her official capacity as
   Acting Secretary of Homeland Security, et al.,

                 Defendants.


   STATE OF NEW YORK, et al.,

                 Plaintiffs,

          v.
                                                     No. 17-cv-5228 (NGG) (JO)
   DONALD TRUMP, in his official capacity as
   President of the United States, et al.,

                 Defendants.


          I, Steven A. Zalesin, of full age, under oath, hereby declare as follows:

          1.     I am an attorney in the State of New York and a partner at the law firm Patterson

      Belknap Webb & Tyler LLP, attorneys for the amici curiae listed below. I respectfully
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      submit this Declaration in support of their Motion for Leave to File Memorandum of Law as

      Amicus Curiae in Support of Plaintiffs’ Motions for Preliminary Injunctions.

          2.      Attached hereto as Exhibit A is the proposed Memorandum of Law Filed on

      Behalf of 87 Religious Organizations as Amicus Curiae in Support of Plaintiffs’ Motions for

      Preliminary Injunctions.

          3.      Counsel working at my direction have requested consent to the filing of this

      motion from counsel for all parties, including Stephen M. Pezzi, Esq., counsel for

      Defendants; Marsha Chien, Esq., counsel for the State Plaintiffs; and Muneer I. Ahmad, Esq.,

      counsel for the Class Plaintiffs. All parties have provided their consent.

          I hereby declare that the foregoing statements made by me are true and that if any of the

   foregoing statements are willfully false, I am subject to punishment.



                                           /s/         Steven A. Zalesin       ____________
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   Executed at New York, New York on December 22, 2014.




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